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                  STATEMENT OF AUTHORITY TO FILE

      The States “may file an amicus brief without the consent of the parties or leave

of the court” under Federal Rule of Appellate Procedure 29(a)(2). However, both

Petitioner and Respondent have consented to the filing of this brief pursuant to

Federal Rule of Appellate Procedure 29(a)(2).




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                                INTRODUCTION

      The mission of the U.S. Department of Veterans Affairs (“VA”) is to fulfill

President Abraham Lincoln’s simple promise: “to care for those who have served in

our nation’s military and for their families, caregivers, and survivors.”1 Under the

Veterans Healthcare Eligibility Reform Act of 1996, the VA Secretary is mandated

to furnish medically necessary care in the case of service-connected veterans and

veterans who cannot afford necessary care.2 It is part of the VA’s core values to “be

truly Veteran-centric by identifying, fully considering, and appropriately advancing

the interests of Veterans and other beneficiaries.”3

      Yet, the regulation at issue here belies the VA’s mission and values. Adopted

in 1999, the VA’s regulation contains a blanket exclusion for “gender alterations”

from the “medical benefits package” provided to eligible veterans,4 and the

regulation’s implementing directive states that the “VA does not provide or fund

gender confirming/affirming surgeries because VA regulation excludes them from

the medical benefits package.”5 The regulation and implementing directive taken



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together with the VA’s denial of TAVA’s petition for rulemaking,6 render President

Lincoln’s promise an empty one for many transgender veterans. Although the VA

recognizes the existence of transgender veterans,7 the VA falls short of serving and

caring for all veterans when it prevents transgender veterans from accessing

medically necessary and potentially life-saving treatment. This longstanding and

discriminatory VA regulation breaks faith with the more than 150,000 veterans,

active duty service members, and members of the Guard and Reserves who identify

as transgender—and who served in our armed forces at nearly twice the rate of their

cisgender counterparts.8

      The VA’s defense of its categorical exclusion is not “Veteran centered,” and

it threatens the welfare of amici States’ residents. Transgender veterans with gender

dysphoria are left without life-saving healthcare and are vulnerable to physical




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(estimating 134,300 transgender veterans and 15,500 on active duty or in the
National Guard or Reserve forces).

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suffering, depression, and suicidal ideation.9 Further, the VA’s approach stands in

tension with the experience of the amici States, —which have found giving

transgender people access to comprehensive healthcare, including medically

necessary surgery, —provides significant benefits at negligible costs.10 Indeed, the

amici States recognize that covering the same or substantially similar surgeries for

cisgender veterans, such as mastectomies or hysterectomies to treat cancer while

refusing to cover similar, necessary procedures for transgender veterans, harms our

residents and public health systems. The VA’s refusal to amend or repeal its

regulation has harmed amici States’ transgender veterans, and potentially hurts our

states’ ability to retain service members for our national guards. The VA’s

discriminatory and unreasonable regulation should be amended or repealed.




      9
          See infra Section A.2. See e.g., Kadel v. Folwell, 100 F.4th 122, 157 (4th
Cir. 2024) (accepting the district court’s reliance on the World Professional
Association for Transgender Health’s (WPATH) standard of care for treating gender
dysphoria); See also Grimm v. Gloucester Cnty Sch. Bd, 972 F.3d 586, 596 (4th Cir.
2020) (“The WPATH Standards of Care outline appropriate treatments for persons
with gender dysphoria…”); See also Flack v. Wis. Dep’t of Health Servs., 328 F.
Supp. 3d 931, 935-36 (W.D. Wis. 2018) (the undisputed facts support that
appropriate individualized medical care as part of their gender transitions identified
by WPATH can mitigate or prevent symptoms of gender dysphoria); See also Glenn
v. Brumby, 724 F. Supp. 2d 1284, 1289 (N.D. Ga. 2010) (accepting the WPATH
triadic therapeutic protocol of hormone therapy, real-life experience as a member of
the new gender, and gender affirming surgeries as the standard of care for treating
gender identity dysphoria).
       10
          See infra Section B.2.

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               IDENTITY AND INTEREST OF AMICI CURIAE

      The States of Washington, Colorado, Connecticut, Delaware, District of

Columbia, Hawaii, Illinois, Maryland, Massachusetts, Michigan, Minnesota,

Nevada, New Jersey, New York, Oregon, Pennsylvania, Rhode Island, and Vermont

submit this amicus brief pursuant to Federal Rule of Appellate Procedure 29(a) and

Circuit Rule 29(a).

      The amici States strongly support the rights of transgender veterans to live

with dignity, be free from discrimination, and have equal access to healthcare. Many

of the amici States provide explicit civil rights protections for transgender people, as

well as non-discriminatory coverage of gender affirming surgery in state-

administered health plans, and our experience demonstrates that ensuring equal

access to healthcare helps us all. In contrast, the VA’s regulation and implementing

directives cause real, observed harms to the amici States’ resident veterans. The

amici States therefore have a strong interest in seeing these regulations amended or

repealed.

                                    ARGUMENT

      Though the immediate petition seeks a review of the VA’s denial of a request

for rulemaking, much more is at stake here. The Petitioners call upon the Court to

determine whether one of the largest healthcare providers in the country should

remain free to deny needed medical care solely based on a person’s gender identity.


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Such an outcome harms both the amici States’ transgender veteran residents, many

of whom are left without access to medically necessary treatment options, and the

amici States themselves, by allowing a deprivation of civil rights in our nation’s

healthcare system that forces States to bear the resulting costs. The Court should

reject this blanket deprivation of medical care and order the VA to amend or repeal

its regulation and implementing directive. Doing so will require the VA to honor its

commitment to provide patient-centered and evidence-based care to our nation’s

veterans.

A.    Discrimination Against Transgender Veterans Harms the Amici States
      and Their Residents.

      1.     Transgender veterans are an important part of the population of
             the amici States, yet face pervasive discrimination.

      Transgender veterans are an essential part of the amici States’ communities—

more than 150,000 veterans, active duty service members, and members of the

Guard and Reserves identify as transgender nationwide.11 Transgender people serve

in the military at about twice the rate of adults in the general population.12




      11
         See supra note 8, at 2.
      12
         Id.; See also Jack Harrison-Quintana & Jody L. Herman, Still Serving In
Silence, LGBTQ POLICY JOURNAL AT THE HARVARD KENNEDY SCHOOL, Vol. 3
(2013), https://www.thetaskforce.org/app/uploads/2023/06/Still-Serving-in-Silenc
e-Harrison-Quintana-Herman-LGBTQ-Policy-Journal-2013.pdf (Twenty percent
(20%) of transgender adults report having served in the military).

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      Rather than honor these veterans, the VA often repays transgender veterans

for their service with discrimination. In the 2015 U.S Transgender Survey (“2015

USTS”), nearly one-quarter of veterans and current service-member respondents

said that leadership acted to discharge them when their commanding officers knew

or thought they were transgender.13 In fact, the U.S. Department of Defense barred

transgender people from openly serving in the military until 2021.14

      This reflects the striking levels of discrimination, harassment, and even

violence that transgender people, including veterans, endure even when it comes to

the most basic elements of life, such as finding a job, having a place to live, and

enjoying the support of family and community.15 This is no less true when it comes

to healthcare, where transgender people face significant barriers to receiving both

routine and transition-related care, including lack of adequate insurance coverage,

provider ignorance about the health needs of transgender people, and outright denial




      13
          Sandy E. James, et al., The Report of the 2015 U.S. Transgender Survey,
NAT’L CTR. FOR TRANSGENDER EQUALITY, 167, 169 (Dec. 2016), http://www.
transequality.org/sites/default/files/docs/usts/USTS%20Full%20Report%20-
%20FINAL%201.6.17.pdf (hereinafter, “2015 USTS”).
       14
          Enabling All Qualified Americans To Serve Their Country in Uniform,
Exec. Order No. 14004, 86 Fed. Reg. 7471 (Jan. 25, 2021).
       15
          2015 USTS, at 2; see also Sara Jean Green, Police, FBI Investigating Brutal
Attack on Transgender Activist on Capitol Hill, THE SEATTLE TIMES (June 24, 2016),
http://www.seattletimes.com/seattle-news/crime/police-fbi-investigating-brutal-
attack-on-transgender-man-on-capitol-hill/ (reporting that a man used sexualized
slurs while attacking a transgender activist as they left a fundraiser).

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of service.16 In the 2022 U.S. Trans Survey Early Insights Report (“2022 USTS

Report”), a report summarizing and highlighting data collected from the largest-ever

survey of transgender people in the United States, 24% of transgender people

reported that they avoided seeking healthcare they needed in the past year due to fear

of being mistreated or harassed.17 Of those who saw a healthcare provider within the

last 12 months, nearly one-half (48%) reported having at least one negative

experience because they were transgender, such as being refused healthcare, being

misgendered, and having a provider use harsh or abusive language when treating

them.18 While 87% of respondents had health insurance, 26% reported having at

least one issue with their insurance company within the last 12 months, such as being

denied coverage for hormone therapy, surgery, or another type of healthcare related

to their gender identity, transition, or because they were transgender.19 These barriers



      16
          2015 USTS, at 93; See also Jaime M. Grant, et al., Injustice at Every Turn:
A Report of National Transgender Discrimination Survey, NAT’L CTR. FOR
TRANSGENDER EQUAL. & NAT’L GAY & LESBIAN TASK FORCE, at 6 (Feb. 2011),
http://www.thetaskforce.org/static_html/downloads/resources_and_tools/ntds_repo
rt_on_health.pdf (hereinafter, “2011 Health Care Survey”) (reporting that 28% of
transgender and gender non-conforming participants faced either verbal or physical
harassment in medical settings, and 19% were refused medical care altogether).
       17
          See Sandy E. James, et al., Early Insights: A Report of the 2022 U.S. Trans
Survey,       NAT’L CTR. FOR TRANSGENDER EQUALITY, 16 (Feb. 2024),
https://transequality.org/sites/default/files/2024-02/2022 USTS Early Insights
Report_FINAL.pdf (the 2022 USTS had 92,329 respondents compared to the 27,715
respondents in the 2015 USTS) (hereinafter, “2022 USTS Report”).
       18
          Id.
       19
          Id. at 17.

                                           8
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impede access to timely and patient-centered gender-affirming care, including

surgeries, which most major medical associations consider to be necessary—and

often live-saving—treatment for transgender people. 20 The current prohibition

against providing gender-affirming surgeries prevents transgender veterans from

seeking care with the VA, and the continuing stigmatization makes the VA an unsafe

place for transgender veterans.

      Moreover, stigmatizing medical care for transgender veterans by excluding

them from the same care that is offered to cisgender veterans discriminates against

transgender people.21 Instead of ensuring the safety, efficacy, and health of the

healthcare provided to veterans who serve our country, the VA restricts the type of

gender-affirming care available. The VA’s exclusionary regulations could not be

based on safety concerns for transgender veterans because those concerns lack any




      20
          See, e.g., E. Coleman, et. al., Standards of Care for the Health of
Transgender and Gender Diverse People, Version 8, Int’l J. of Transgender Health
Vol. 23, Issue Sup1, at 5, 16-18 (2022), https://doi.org/10.1080/26895269.2022.21
00644 (World Professional Association for Transgender Health’s Standards of Care
– Eighth Edition (WPATH SOC-8)); Edmo v. Corizon, Inc., 935 F.3d 757, 769 (9th
Cir. 2019) (listing major medical organizations that recognize WPATH Standards of
Care as “the appropriate treatment for transgender and gender dysphoric
individuals”).
       21
          See Kadel, 100 F.4th at 149 (4th Cir. 2024) (holding that a health plan
“targeting a subset of a protected group does not preclude a finding of proxy
discrimination. Nor does the fact that a law applies equally to all, when it affects a
protected group… gender dysphoria, a diagnosis inextricable from transgender
status, is a proxy for transgender identity. And coverage exclusions that bar
treatments for gender dysphoria bar treatments on the basis of transgender identity
by proxy.”)

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medical support; instead, the VA’s regulations merely codify insidious

discrimination into law.

      2.     The VA’s discriminatory regulation harms transgender veterans
             and the amici States.

      The blanket denial of access to medically necessary care is stigmatizing and

discriminatory, which has serious consequences for transgender residents and public

health generally in the amici States.

      Transgender people often suffer from severe emotional and psychological

distress due to the stigma associated with being transgender.22 In the 2015 USTS,

82% of respondents reported seriously contemplating taking their own life, and 40%

of respondents reported having attempted suicide23—a rate drastically higher than

the rate of suicide attempts for the overall U.S. population (4.6%) or even for lesbian,

gay, and bisexual individuals (10-20%).24 “[T]ransgender adults have a prevalence


      22
          See Am. Psychological Ass’n, Understanding transgender people, gender
identity and gender expression (updated July 8, 2024), http://www.apa.org/
topics/lgbt/transgender.aspx; Wynne Parry, Gender Dysphoria: DSM-5 Reflects
Shift in Perspective on Gender Identity, Huffington Post (updated Aug. 4, 2013),
http://www.huffingtonpost.com/2013/06/04/gender-dysphoria-dsm-5_n_3385287
.html (“[T]he distress that accompanies gender dysphoria arises as a result of a
culture that stigmatizes people who do not conform to gender norms[.]”).
       23
          2015 USTS, at 114.
       24
          Jody L. Herman, et al., Suicide Attempts Among Transgender and Gender
Non-Conforming Adults: Findings of the National Transgender Discrimination
Survey,       UCLA,         WILLIAMS      INST.,     at     4      (Sept.    2019),
https://williamsinstitute.law.ucla.edu/wp-content/uploads/AFSP-Williams-Suicide-
Report-Final.pdf; see also Jeremy D. Kidd, et. al., Prevalence of Substance Use and
Mental Health Problems Among Transgender and Cisgender U.S. Adults, UCLA,
Williams Inst. Press Release (July 20, 2023), https://williamsinstitute.law.

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of lifetime suicidal thoughts about four times higher, and lifetime suicide attempts

about six times higher, than the U.S. population.”25

      The devastating reality for transgender Americans who do not have access to

gender-affirming surgeries does not end with the high risk of suicide associated with

the inability to access treatment for their gender dysphoria. For instance, if

unaddressed, gender dysphoria can impact quality of life, cause fatigue, and trigger

decreased social functioning.26 Specifically, 93% of transgender veterans reported at

least one instance of stigma in the military because of their gender identity, including

bullying and barriers to obtaining gender-affirming care.27 Likewise, the Centers for


ucla.edu/press/transpop-suicide-press-release/ (a new study finds that 81% of U.S.
transgender adults have thought about suicide); Laura Ungar, Transgender People
Face Alarmingly High Risk of Suicide, USA Today (Aug. 16, 2015),
https://www.usatoday.com/story/news/nation/2015/08/16/transgender-individuals-
face-high-rates--suicide-attempts/31626633/.
       25
          Jody L. Herman, et. al., Suicide Thoughts and Attempts Among Transgender
Adults: Findings from the 2015 U.S. Transgender Survey, UCLA, THE WILLIAMS
INST.,     at    4    (Sept.      2019),     https://williamsinstitute.law.ucla.edu/wp-
content/uploads/Suicidality-Transgender-Sep-2019.pdf.
       26
          See Emily Newfield, et al., Female-to-Male Transgender Quality of Life,
QUALITY OF LIFE RESEARCH (Nov. 2006), https://www.researchgate.net/
publication/7025219_Female-to-male_transgender_quality_of_life (observing that
transgender people who received transition-related care reported having a higher
health-related quality of life).
       27
           Lindsay Mahowald, LGBTQ+ Miltary Members and Veterans Face
Economic,      Housing,       and     Health     Insecurities,    Center     for   Am.
Progress (Apr. 28, 2022), https://www.americanprogress.org/article/lgbtq-military-
members-and-veterans-face-economic-housing-and-health-insecurities/#:~:text=A
%20new%20Center%20for%20American,housing%20instability%2C%20and%20
mental%20health (citing N. A. Schvey, et. al., Stigma, Health, and Psychosocial
Functioning Among Transgender Active Duty Service Members in the U.S. Military,
Am. Psychology Ass’n (2020), https://psycnet.apa.org/doiLanding?doi=10.1037
%2Fsah0000190).

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Disease Control and Prevention found that social rejection, stigma, and inadequate

access to transgender-competent care all contribute to an increased risk of HIV and

AIDS for transgender people.28

      These negative health consequences to veterans translate directly into harm to

the amici States. If transgender veterans are unable to receive non-discriminatory,

comprehensive healthcare from the VA, they may turn to other providers for their

healthcare coverage.29 Transgender and gender non-conforming individuals are less

likely than the general population to have health insurance, and more likely to be

covered by state-run programs such as Medicaid.30 Even when transgender veterans

are enrolled with the VA, those with serious problems may end up relying upon the

front-line services of the state healthcare systems in times of crisis. Out of the

estimated 276,000 transgender adults enrolled in Medicaid, it’s estimated that

74,000 have uncertain coverage for gender affirming care, and 38,000 live in states

with express bans that deny access to covered gender affirming care.31 It is therefore

our state Medicaid programs that often provide this life-saving coverage and bear


      28
           Ctrs. for Disease Control & Prevention, HIV and Transgender
Communities, at 1-2 https://www.cdc.gov/hiv/pdf/policies/data/cdc-hiv-policy-
issue-brief-transgender.pdf (last visited May 22, 2024).
       29
          See, e.g., Sidath Viranga Panangala, et. al., Health Care for Veterans:
Answers to Frequently Asked Questions, CONGRESSIONAL RESEARCH SERVICE, at 10
https://fas.org/sgp/crs/misc/R42747.pdf, (updated March 4, 2020).
       30
          2011 Health Care Survey, at 76.
       31
          Christy Mallory & Will Tentido, Medicaid Coverage for Gender-Affirming
Care, UCLA, THE WILLIAMS INST., 5 (Dec. 2022), https://williamsinstitute.law
.ucla.edu/wp-content/uploads/Medicaid-Gender-Care-Dec-2022.pdf.

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the burden of addressing the enormous attendant consequences of denying

transgender veterans medically necessary care.32 Simply put, it is often our state

Medicaid programs that cover the doctor visits, emergency services, chronic disease

management, mental health, and substance abuse disorder services that are required

when the VA fails to provide medically necessary treatment for gender dysphoria.33

And, because the VA failed to provide necessary treatment in the first instance, these

problems are often more complex and harder to treat by the time state providers

encounter them.34

      In sum, the VA’s regulation singles out an already-marginalized population,

and it does so with respect to one of the most important health issues transgender

veterans may face in their lifetimes. In refusing transgender veterans needed

healthcare, the VA places avoidable stress on amici States’ healthcare systems.




      32
           See Ctrs. for Disease Control & Prevention, Cost of Injury Reports,
https://wisqars.cdc.gov/create-reports/ (last visited May 22, 2024) (check “Cost of
Injury.” See line items, “Suicide.” (estimating the average medical cost of a suicide
attempt is $9,340)).
       33
          See, e.g., Wash. Admin. Code § 182-501-0060; Cal. Code Regs. tit. 22
§§ 51301, et seq.; 18 N.Y.C.R.R. 505 (listing each program’s benefit packages).
       34
          See Nicolle K. Strand & Nora L. Jones, Invisibility of “Gender Dysphoria,”
AMA JOURNAL OF ETHICS (July 2021), https://journalofethics.ama-assn.org/
article/invisibility-gender-dysphoria/2021-07 (observing that the consequences of
extended, untreated gender dysphoria are observable in high rates of suicide and
mental illness among transgender patients; gender affirming care reduces these
patients’ suicide risk significantly).

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B.    Several States’ Experience Shows that the VA Can Provide Healthcare to
      Transgender Veterans, Including Gender-affirming Surgery, Without
      Significant Costs.

      1.     Many states have experience covering transition-related care.

      To prevent the tangible economic, emotional, and health consequences of

excluding individuals from needed healthcare, many states explicitly prohibit

insurers from excluding transition-related care, like gender-affirming surgeries,

from coverage.35 In Washington36, the Office of the Insurance Commissioner

mandates that private insurers cover medically necessary services for transgender

individuals “to the same extent that those services are covered for non-transgender

individuals.”37 Indeed, as Washington regulators state in an accompanying guidance,




      35
          See Katie Keith, 15 States and DC Now Prohibit Transgender Insurance
Exclusions, GEORGETOWN UNIV. HEALTH POLICY INSTITUTE CTR ON HEALTH INS.
REFORMS (Mar. 30, 2016), http://chirblog.org/15-states-and-dc-now-prohibit-
transgender-insurance-exclusions/.
       36
          The Health Care Authority provides coverage of surgical and non-surgical
transition-related services in both Washington state’s Medicaid program (known as
“Apple Health”) and the public employees’ insurance benefits program (known as
“PEBB”). See Wash. Admin. Code § 182.531.1675 (listing surgical and hormone
therapy as available under Apple Health’s “gender dysphoria treatment program”);
Brad Shannon, PEBB Votes to Add Transgender Services to Health Coverage
Starting     in     January,    THE    NEWS      TRIBUNE       (July   31,    2014),
https://www.thenewstribune.com/news/politics-government/article25874317.html.
       37
          Letter from Mike Kreidler to Health Ins. Carriers in Wash. State, Office of
the     Ins.     Commissioner       of   Wash.      State     (June   23,     2020),
https://www.insurance.wa.gov/sites/default/files/documents/final-letter-health-carr
iers-transgender-protection-non-discrimination.pdf.

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an exclusion for gender-affirming surgery constitutes “an impermissible

discriminatory exclusion.”38

      Other states are equally committed to ensuring transgender people are treated

with dignity and respect when accessing healthcare. In California, the state’s

Medicaid program (“Medi-Cal”) has prohibited transition-related exclusions from

its coverage since 2001, and Medi-Cal covers gender-affirming surgery when

medically necessary.39 Moreover, California’s public employees’ insurance benefits

program covers all medically necessary care for transgender beneficiaries.40 In 2012,

the California Insurance Commissioner adopted regulations prohibiting private

insurers from denying coverage for transition-related services if the same services

are available when unrelated to gender transition.41 In Colorado, all insurance

carriers that market policies of sickness, accident, and health coverage plans are




      38
          Office of the Ins. Commissioner of Wash. State, Transgender enrollee
coverage frequently asked questions, https://www.insurance.wa.gov/faq-about-
coverage-transgender-enrollees (last visited Jan. 18, 2024).
       39
          See Cal. Dep’t of Health Care Servs., Ensuring Access to Medi-Cal Services
for Transgender Beneficiaries (Oct. 6, 2016), http://www.dhcs.ca.gov/forms
andpubs/Documents/MMCDAPLsandPolicyLetters/APL2016/APL16-013.pdf;
Letter from Nathan Nau to All Medi-Cal Managed Care Health Plans, Cal. Dep’t of
Health Care Servs. (Oct. 26, 2020), https://www.dhcs.ca.gov/formsandpubs/
Documents/MMCDAPLsandPolicyLetters/APL2020/APL20-018.pdf.
       40
           Trudy Ring, Calif. Public Employees Will Get Coverage for Gender
Transition, The Advocate (June 21, 2013), https://www.advocate.com/
politics/transgender/2013/06/21/calif-public-employees-will-get-coverage-gender-
transition.
       41
          Cal. Code Regs. tit. 10 § 2561.2(a).

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prohibited from denying, exclude, or otherwise limit coverage for medically

necessary services based upon a person’s gender identity.42 Similarly, since 2014,

the Massachusetts Commissioner of Insurance prohibited the exclusion of healthcare

coverage for gender identity or gender dysphoria-related treatment.43 Additionally,

the state’s Medicaid program (MassHealth) covers gender-affirming surgery when

medically necessary.44 In 2016, the Pennsylvania Insurance Commissioner

announced that all health insurance policies under its jurisdiction will affirmatively

provide medically necessary covered services to a policyholder regardless of their

gender, and that medical assistance regulatory prohibitions on payment for services

related to sex reassignment are no longer in effect.45 Other states provide similar

protections.46


      42
          3 Colo. Code Regs. 702-4-2-62-5(E)(3).
      43
          Mass. Division of Ins., Office of Consumer Affairs & Business Regulation,
Bulletin 2014-03 (June 20, 2014),              https://www.mass.gov/doc/division-of-
insurance-bulletin-2014-03-guidance-regarding-prohibited-discrimination-on-
the/download.
       44
          Mass. Dep’t Health & Human Services, MassHealth Guidelines for Medical
Necessity        Determination         for      Gender       Affirming        Surgery,
https://www.mass.gov/guides/masshealth-guidelines-for-medical-necessity-determ
ination-for-gender-affirming-surgery (last visited Jan. 18. 2024).
       45
          The Pennsylvania Bulletin, Notice Regarding Nondiscrimination; Notice
2016-05, 46 Pa.B. 2251 (April 30, 2016), https://www.pacodeandbulletin.gov/
Display/pabull?file=/secure/pabulletin/data/vol46/46-18/762.html; PA Dep’t of
Human Servs. Med. Assist., Bulletin 99-16-11 (July 18, 2016),
https://transequality.org/sites/default/files/PA-Medical-Assistance-Bulletin.pdf.
       46
          See, e.g., Conn. Ins. Dep’t, Bulletin IC-37, renumbered as Bulletin IC-34
(Dec.                  19,                  2013),              https://portal.ct.gov/-
/media/CID/BulletinIC37GenderIdentityNondiscriminationRequirementspdf.pdf?la
=en; Del. Code tit.18 § 2304(22); D.C. Official Code § 31-2231.11(c); Letter from
D.C. Comm’r William P. White to All Ins. Cos., Health Maintenance Orgs., and

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      Numerous states’ laws, regulations, and healthcare bulletins prohibit insurers

from excluding gender-affirming surgeries in a discriminatory manner. Taken

together, these protections reflect many states’ core commitment to protecting the

equality of all people, regardless of their gender identity.

      2.     Many states have found that covering comprehensive healthcare
             for transgender people, including surgeries, furthers essential
             interests without imposing undue financial costs.

      The VA may argue that covering gender-affirming surgery imposes a

significant cost burden on its health system. However, in states where equal access


Hospital and Med. Serv. Corps. Authorized to Write Health Ins. in the Dist., Gov. of
the Dist. Of Columbia, Dep’t of Ins, Securities and Banking, Bulletin 13-IB-01-
30/15 (March 15, 2013), https://disb.dc.gov/sites/default/files/dc/sites/disb/
publication/attachments/Bulletin13-IB-01-30-15.pdf; Haw. Rev. Stat. § 431:10A-
118.3(a); Haw. Rev. Stat. § 432:1-607.3; Haw. Rev. Stat. § 432D-26.3 (2016);775
Ill. Comp. 5/1-103(O-1); 50 Ill. Adm. Code 2603.35; Md. Code Ann., Health-Gen.
§ 15-103(a)(2)(xxii); Mich. Comp. Laws § 500.2027(a)(i), amend. 2023, Act of 156
(effective Feb. 12, 2024); Minn. Stat. § 363A.17(3); NJ Dep’t of Banking and Ins,
Bulletin No. 23-05, https://www.nj.gov/dobi/bulletins/blt23_05.pdf; NV S.B. 163,
2023 Leg., 82nd Sess. (effective July 1, 2023); 18 N.Y.C.R.R. 505.2(l); N.Y. Dep’t
of Financial Servs. Ins. Circular Letter No. 7 (Apr. 22, 2022),
https://www.dfs.ny.gov/industry_guidance/circular_letters/cl2022_07; OR H.B.
2002, 82nd OR Leg. Assy., Reg. Sess. (Or. 2023); OR Dep’t of Consumer and
Business Servs. Div. of Financial Reg., Bulletin DFR 2023 (Dec. 6, 2023),
https://dfr.oregon.gov/laws-rules/Documents/Bulletins/proposed/guidance-gender-
affirming-treatment.pdf; RI Health Ins Comms, Bulletin 2015-3 (Nov. 23, 2015),
https://ohic.ri.gov/sites/g/files/xkgbur736/files/bulletins/Bulletin-2015-3-
Guidance-Regarding-Prohibited-Discrimination.pdf; VT. Dep’t of Fin. Reg., Div. of
Ins., Ins. Bulletin No. 174, Guidance Regarding Prohibited Discrimination on the
Basis of Gender Identity including Medically Necessary Gender Dysphoria Surgery
and Related Health Care (revised June 12, 2019), https://dfr.vermont.gov
/sites/finreg/files/regbul/dfr-bulletin-insurance-174-gender-dysphoria-surgery.pdf;
VT. Dep’t of Health Access, Medical Policy re: Gender Affirmation Surgery for the
Treatment of Gender Dysphoria (last review Nov. 1, 2019), https://dvha.vermont.
gov/sites/dvha/files/documents/providers/Forms/1gender-affirmation-surgery-w-
icd-10-coded-110119.pdf.

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to medically necessary care is already the law, this prophesied fear has not

materialized.

      Many states found that the removal of transgender exclusions has not led to

burdensome financial costs or skyrocketing premiums. For instance, Colorado

requires comprehensive gender-affirming surgery as part of minimum healthcare

plans sold on individual and small group markets, which accounts for about a quarter

of the state’s healthcare customers.47 The cost for these gender-affirming care

elements was estimated to be 64 cents per month per enrollee in the individual and

small group market plans.48 In California, for example, the Insurance Commissioner

conducted economic impact findings and determined that ensuring equal access to

healthcare regardless of gender identity would have an “insignificant and immaterial

economic impact” on California businesses.49 While providing medically necessary

care is important regardless of the number of persons who need such care, the

California Department of Insurance’s assessment that any economic impact would




      47
          Newsline Staff, Colorado first in nation to include gender-affirming care
in some health care plans as essential benefit, COLORADO NEWSLINE (Oct. 13, 2021),
https://coloradonewsline.com/briefs/colorado-first-in-nation-to-include-gender-
affirming-care-in-some-health-care-plans-as-essential-benefit/.
       48
          Id.
       49
            Cal. Dep’t of Ins., Economic Impact Assessment of Gender
Nondiscrimination in Health Insurance, at 1-2, Reg. File No. REG-2011-00023
(Apr. 13, 2012), http://transgenderlawcenter.org/wp-content/uploads/2013/04/
Economic-Impact-Assessment-Gender-Nondiscrimination-In-Health-Insurance.pdf
(hereinafter, “California Assessment”).

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be insignificant makes sense because the transgender population in the United States

is quite small50—and the transgender veteran population is even smaller. Insurers

are rarely called upon to provide transition-related services.51 In fact, with respect to

surgeries, the “utilization rate,” or degree at which insureds seek a covered service,

is lower than the percentage of transgender people in the population, since many rely

on counseling and hormone therapy alone to treat their symptoms and do not seek

surgery.52 The City of San Francisco, for example, initially charged employees a

$1.70 premium to cover the cost of extending coverage to transgender people only

to wholly eliminate that charge three years later because of low utilization rates.53

Similarly, the City of Seattle easily absorbed the predicted increase of $200,000 for

extending coverage because the amount represented just two-tenths of one percent

of Seattle’s total $105 million healthcare budget.54



      50
          Compare Jody L. Herman, et al., How Many Adults Identify as Transgender
in the United States?, UCLA, THE WILLIAMS INST., at 4 (June 2022),
https://williamsinstitute.law.ucla.edu/wp-content/uploads/Trans-Pop-Update-Jun-
2022.pdf (estimating 1.3 million people identify as transgender), with U.S. Census
Bureau, Annual Population Estimates, https://www.census.gov/popclock/ (last
visited January 17, 2024) (estimating 335 million people in the United States).
       51
          See, e.g., California Assessment, at 5-6 (observing, at one employer, less
than 27 employees sought transition-related treatments in over five years despite the
employer plan covering 95,000 employees).
       52
          California Assessment, at 8 (noting not all transgender people have medical
need for surgery). See also 2015 USTS, at 100-103 (only 25% of respondents
reported having some form of transition-related surgery).
       53
          California Assessment, at 6.
       54
          California Assessment, at 7.

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      Most importantly, the tangible benefits to the states’ public health and to the

affected individuals greatly outweigh the cost of extending coverage. This is because

the mental health of transgender people markedly improves when they receive non-

discriminatory healthcare. Several studies suggest surgical treatments improve the

overall mental health of transgender insureds and decrease substance abuse rates.55

Suicidal ideation, for example, significantly decreases after gender-affirming

surgery.56 Providing coverage also creates cost savings for insurers because they

avoid paying to treat comorbidities of untreated gender dysphoria, including

depression, anxiety, substance abuse, and self-harm.57 And, requiring coverage

increases the pool of providers offering care at reimbursed rates. For example, after

the Medicaid expansion as part of the Affordable Care Act, Medi-Cal was better able


      55
          See Anthony N. Almazan & Alex S. Keuroghlian, Association Between
Gender-Affirming Surgeries and Mental Health Outcomes, JAMA SURGERY (Apr.
28, 2021), https://jamanetwork.com/journals/jamasurgery/fullarticle/2779429;
William V. Padula, et. al., Societal Implications of Health Ins. Coverage for
Medically Necessary Svcs. in the U.S. Transgender Population: A Cost-
Effectiveness Analysis, J. GEN. INTERN. MED. (Oct. 19 2015), https://www.ncbi.nlm
.nih.gov/pmc/articles/PMC4803686/pdf/11606_2015_Article_3529.pdf (estimating
decreased risk of HIV, depression, suicidality, and drug abuse means comprehensive
coverage of transition-related care is cost-effective 85% of the time); Mohamed
Hassan Murad, et. al., Hormonal Therapy and Sex Reassignment: A Systematic
Review and Meta-analysis of Quality of Life and Psychosocial Outcomes, CLINICAL
ENDOCRINOLOGY, Vol. 72, Iss. 2 (Feb. 2010), https://pubmed.ncbi.nlm.nih.gov/
19473181/.
       56
          California Assessment, at 10 (summarizing multiple studies that found
suicidal ideation decreases after transgender people receive gender-affirming
surgery).
       57
          California Assessment, at 11.

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to contract with surgeons that could perform gender-affirming surgeries at Medi-Cal

reimbursement rates.58 Not only are such outcomes good for a states’ transgender

residents, they are good for the public health and fiscal outcomes of the states

themselves. Regardless of who assumes the costs created by denying gender-

affirming surgeries, the VA’s regulations callously requires unnecessary suffering

of transgender veterans.

      In sum, many states’ experiences show that the public health benefits of

providing comprehensive healthcare to transgender people overwhelmingly offset

the negligible costs in covering medically necessary, life-saving gender-affirming

surgery.

                                 CONCLUSION

      The VA’s categorical exclusion of surgical “gender alterations” from its

medical benefits package for veterans directly harms numerous states and their

residents. As many states’ experience shows, providing such care leads to significant

benefits without serious costs, and supports a decision to amend or repeal the VA’s

discriminatory regulations, including 38 C.F.R. § 17.38(c)(4) and implementing

directives, that exclude medically necessary gender confirmation surgery from the

medical benefits package.


      58
         Angela Hart, Medi-Cal Expansion Opens Doors to Care for Transgender
Patients, KQED News (Feb. 5, 2014), https://www.kqed.org/stateofhealth/
17490/medi-cal-expansion-opens-doors-to-care-for-transgender-patients.

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     DATED this 10th day of September 2024.


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